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                        UNITED STATES COURT OF APPEALS              FILED
                               FOR THE NINTH CIRCUIT                 JAN 11 2023
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS
 PERSIAN GULF, INC., individually and on     No.   22-56010
 behalf of all others similarly situated,
                                             D.C. No. 3:15-cv-01749-JO-AGS
                    Plaintiff-Appellant,     Southern District of California,
                                             San Diego
   v.
                                             ORDER
 CHEVRON U.S.A. INC.; et al.,

                    Defendants-Appellees,

 BP WEST COAST PRODUCTS, LLC,

                    Defendant-Appellee,

  and

 VALERO ENERGY CORPORATION,

                    Defendant,

 CONOCOPHILLIPS; et al.,

                    Defendants.


 PERSIAN GULF, INC., individually and on     No.   22-56016
 behalf of all others similarly situated,
                                             D.C. No. 3:15-cv-01749-JO-AGS
                    Plaintiff-Appellee,

   v.

 ALON USA ENERGY, INC.,

                    Defendant-Appellant,

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  and

 BP WEST COAST PRODUCTS, LLC; et
 al.,

                    Defendants.

        The parties’ stipulated motion (Docket Entry No. 11) for voluntary dismissal

 of No. 22-56010 is granted. No. 22-56010 is dismissed with prejudice. Fed. R.

 App. P. 42(b).

        Costs and fees shall be allocated pursuant to the parties’ stipulation.

        This order served on the district court acts as the mandate of this court as to

 No. 22-56010 only.

        No. 22-56016 will proceed and the following briefing schedule will govern:

        Appellant Alon USA Energy, Inc.’s opening brief is now due February 10,

 2023. Appellee Persian Gulf, Inc.’s answering brief is due March 13, 2023.

 Appellant Alon USA Energy, Inc.’s optional reply brief is due within 21 days after

 service of the answering brief.

                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT


                                                   By: Lorela Bragado-Sevillena
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7


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